     Case 2:05-cr-00346 Document 574 Filed on 10/17/08 in TXSD Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
       Plaintiff,                                 §
                                                  §
V.                                                §          CR. No. C-05-346 (2)
                                                  §
STEVE ALLEN LOPEZ,                                §
                                                  §
       Defendant.                                 §

                           ORDER GRANTING MOTION
                         TO PROCEED IN FORMA PAUPERIS
                    AND ORDER APPOINTING COUNSEL ON APPEAL

       As set forth in its September 30, 2008 Order, the Court has determined that Defendant Steve

Allen Lopez is entitled to an out-of-time direct appeal in his criminal case. (See D.E. 566.) In the

same Order, the Court instructed Lopez that if he wanted to have counsel appointed to represent him

on appeal, he needed to file a motion for appointment of counsel and information concerning his

finances. (D.E. 566 at 6-7.)

       Lopez has now filed a timely Notice of Appeal from the reinstated judgment. (D.E. 571,

appealing from 567.) He has also filed a motion to appoint counsel and an application to proceed

in forma pauperis. (D.E. 572, 573.) Having reviewed these documents and the financial information

contained therein, the Court concludes that Lopez is “financially unable to obtain counsel.” See 18

U.S.C. § 3006A(b). Thus, he is entitled to appointed counsel on appeal and is entitled to proceed

on appeal in forma pauperis. Accordingly, his motion to proceed ifp and motion to appoint counsel

(D.E. 572, 573) are both GRANTED.




                                                 1
     Case 2:05-cr-00346 Document 574 Filed on 10/17/08 in TXSD Page 2 of 2




       The Court hereby appoints Richard Rogers, 1756 Sante Fe, Corpus Christi, Texas 78404 to

represent Lopez in his direct criminal appeal. The Clerk is directed to provide copies of this Order

directly to Lopez, as well as to Mr. Rogers



       It is so ORDERED this17th day of October, 2008.




                                              ____________________________________
                                                         Janis Graham Jack
                                                     United States District Judge




                                                 2
